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 5
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 8
                             IN THE UNITED STATES DISTRICT COURT
 9
                          FOR THE EASTERN DISTRICT OF CALIFORNIA
10

11

12   UNITED STATES OF AMERICA,                             Case No.: 2:15-CR-00158 JAM

13                   Plaintiff,                            STIPULATION AND ORDER
                                                           CONTINUING STATUS CONFERENCE
14   vs.
15
     CHARLES BEAVER,
16
                     Defendant.
17

18
                                              STIPULATION
19

20          IT IS HEREBY STIPULATED by and between the parties hereto through their
21   respective undersigned counsel that the status conference presently set on the Court’s calendar

22   for Tuesday, June 28, 2016, at 9:15 a.m. be vacated and continued without appearance to
     Tuesday, July 12, 2016 at 9:15 a.m. for Status Conference. A change of plea is expected at
23
     that time.
24
            The parties have been diligently working toward reaching a plea agreement, including
25
     conducting a debrief, and back and forth attempts in arriving at a factual basis satisfactory to all
26
     parties. At present, we seem to be at an impasse as to the underlying facts that have to do with
27
     relative culpability and mitigation. We are working on it. We need one more brief continuance
28                                                     1
               Case 2:15-cr-00158-JAM Document 81 Filed 06/24/16 Page 2 of 3


 1   of about two weeks.
 2           The parties further stipulate and agree that the ends of justice will be served by the
 3   granting of this request for continuance which outweigh the best interests of the public and the

 4
     defendant’s right to a speedy trial, and that the time within which the trial of this case must be
     commenced under the Speedy Trial Act should therefore be excluded pursuant to 18 U.S.C.
 5
     §3161 (h)(7)(B)(iv), corresponding to Local Code T-4, from the effective date of the parties’
 6
     stipulation commencing June 28, 2016 up to and including the proposed new date for status
 7
     conference/plea of July 12, 2016.
 8
             Accordingly, the parties respectfully request that the Court adopt this proposed
 9   stipulation.
10

11           IT IS SO STIPULATED.
12                                                 Respectfully submitted,

13
             DATED: June 23, 2016
14
                                                   /s/ Robert M. Holley_______________
15                                                 Mr. Robert M. Holley, Esq.
16                                                 Counsel for Mr. Charles Beaver

17
             DATED: June 23, 2016
18                                                 /s/ Justin Lee_(by RMH)____
19                                                 Mr. Justin Lee, Esq.
                                                   Assistant United States Attorney
20                                                 Counsel for the United States
21

22

23                                                 ORDER
24           The Court, having read and considered the stipulation of the parties, and good cause
25
     appearing therefrom, hereby adopts the stipulation of the parties in its entirety including the
26
     exclusion of time for trial pursuant to the Speedy Trial Act, 18 U.S.C. §3161(h)(7)(B)(iv). The
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28                                                     2
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 1   previously set date for Status Conference of June 28, 2016 is hereby vacated, and the matter is
 2
     reset on the Court’s regular criminal law and motion calendar for Status Conference for Tuesday,
 3
     March July 12, 2016 at 9:15 a.m.
 4
            Dated: 6/24/2016
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 6                                               /s/ John A. Mendez____________________
                                                 THE HONORABLE JOHN A. MENDEZ
 7                                               United States District Judge
                                                 Eastern District of California
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